      Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 1 of 20




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION


RAYMOND BOSARGE, et al.
          Plaintiffs,
v.
                                                   Case No. 2:22-CV-00407
UNITED STATES DEPARTMENT OF
THE TREASURY, et al.
          Defendants.

    NON-FEDERAL DEFENDANTS’ JOINT MOTION TO DISMISS
PURSUANT TO RULE 41(B) OR, IN THE ALTERNATIVE, TO RULE 4(M)

     I.      INTRODUCTION

          Plaintiffs filed their Complaint in this case—seeking an injunction against the

long-planned construction of two men’s prisons—the day before the bonds to

finance those prisons were due to close. As demonstrated below, the merits of that

Complaint were weak the day it was filed. And as demonstrated by the Plaintiffs’

own conduct, the merits of the complaint have not gotten any better with the passage

of time: In the five-plus months since filing their Complaint, Plaintiffs have done

nothing to prosecute their weak claims. There is no evidence Plaintiffs have even

attempted service on the two defendants most essential to their claims, the U.S.

Department of the Treasury and the Treasury Secretary.




06680420.1                                06676263.1
      Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 2 of 20




        Due to the timing of their Complaint, the weakness of its claims, and

Plaintiffs’ failure to prosecute or even serve their Complaint, the Non-Federal

Defendants1 respectfully request that this Court dismiss Plaintiffs’ Complaint for

Declaratory and Injunctive Relief (Doc. 1, “Complaint”) with prejudice pursuant to

Federal Rule of Civil Procedure Rule 41(b) for failure to prosecute or, in the

alterative, without prejudice pursuant to Rule 4(m), and for any other relief the Court

deems appropriate under the circumstances. In support of this motion, Non-Federal

Defendants state as follows:

II.     THE CIRCUMSTANCES AND TIMING OF THE COMPLAINT

        1.       ACIFA, pursuant to its authority under Ala. Code § 14-2-12, issued

bonds to fund correctional facilities in Elmore and Escambia Counties. These bonds

were intended to supplement federal funds provided under the American Rescue

Plan Act (“ARPA”) and allocated to the construction of these facilities. The bonds

priced and were sold on June 28, 2022 and were issued (i.e., closed) on July 12,

2022.

        2.       ACIFA’s bond sale was part of a long-term plan by the State of

Alabama to replace aging prisons with new, modern prison facilities to improve

conditions for inmates and correctional staff. For example, the legislation enabling


1
 A listing of the non-federal defendants is included in the signature block on page 8-9. Aside from those listed
defendants, the only other non-federal defendant named in the complaint is W.S. Newell & Sons, Inc. (“Newell”).
The undersigned counsel does not yet know who will be representing Newell in this action.



                                                     -2-
    Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 3 of 20




the financing and building of these prisons was passed in Special Session on October

1, 2021. See Act No. 2021-546. The allocation of ARPA funds for prison

construction was also approved that same day. See Act No. 2021-547.

      3.    Just prior to the bond closing, and nearly nine months after prison

construction was approved and ARPA funds allocated by the legislature, three

complaints were filed by inmates challenging Alabama’s use of ARPA funds. First,

on June 27, 2022, the day before the bonds were to be priced and sold, an Alabama

inmate filed a complaint in intervention in Braggs v. Hamm, No. 2:14cv601

(“Braggs”), pending in the Middle District of Alabama. The inmate claimed to have

a priority over the ARPA funds. Braggs, Docs. 3633, 3634. On October 17, 2022,

the court denied the inmate’s motion for leave to intervene. Braggs, Doc. 3824.

      4.    On the day that the Braggs complaint in intervention was filed, ADOC

and ACIFA’s attorneys received an email (Ex. A) from an employee of Justice

Capital, an investment fund that aims to “enhance[] public health and safety to grow

thriving Black, Brown, and systems impacted communities.” See “Justice Capital:

Who We Are,” available at https://justice.capital/. The email said:

            As I’m sure you are aware, a motion to intervene was filed
            this morning in the Braggs case . . . asserting that
            implementation of the remedial order should have priority
            over lease payment and debt servicing for the proposed
            prison construction plan. Judge Myron Thompson set a
            very expedited briefing schedule, requiring Defendants to
            respond no later than July 5th. We view this as a material
            risk even to your $725 million [ACIFA] deal scheduled to

                                        -3-
    Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 4 of 20




             price tomorrow morning. Security for these bonds could
             be undermined and should, most definitely, be disclosed
             to potential investors. We urge you to disclose the motion
             to intervene, complaint, and order by Judge Thompson. At
             the very least, we believe you must sticker this deal to alert
             investors of material litigation and/or judicial rulings to be
             issued in the immediate future that could detract from the
             credit quality of this deal.

      5.     The day before the scheduled bond closing, two other lawsuits were

initiated in this District. On July 11, 2022, Alabama inmates sued the U.S.

Department of Treasury (“Treasury”), claiming that Alabama had misappropriated

ARPA funds and asking this Court to enjoin construction of the facilities. Kincaid v.

U.S. Dept. of the Treasury, No. 2:22-CV-00409 (“Kincaid”). Upon information and

belief, the defendants in Kincaid were never served. On November 28, 2022, the

court ordered the plaintiffs to show cause why the Kincaid case should not be

dismissed for failure to prosecute. Doc. 7. The plaintiffs voluntarily dismissed their

complaint two days later. Doc. 8.

      6.     On the same day that the Kincaid complaint was filed, the same

individual from Justice Capital sent an email to ADOC and ACIFA’s attorneys. (Ex.

B). The email said, among other things:

             Please see an additional suit filed moments ago.

                                         ....

             We view this additional suit as another material risk to the
             $509 million [ACIFA] that priced on June 28th [sic].We
             believe security for the aforementioned bonds would be

                                          -4-
       Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 5 of 20




              jeopardized in the event of an adverse ruling and
              recommend you as bond counsel disclose the existence of
              the lawsuit to existing investors. Further, given the
              material nature of the legal actions filed today, we would
              expect a delay in the settlement of bonds scheduled for
              tomorrow, July 12th.


        7.    This case was also filed on the same day as Kincaid—the day before

the scheduled bond closing. On the day that the Complaint in this case was filed, the

same individual from Justice Capital sent an email to ADOC and ACIFA’s attorneys,

attaching the Complaint. (Ex. C). The email said:

              We view this [lawsuit] as a material risk to your $509
              million [ACIFA] that priced on June 28th [sic] and which
              is set to settle tomorrow, Tuesday, July 12th. We believe
              security for the aforementioned bonds would be
              jeopardized in the event of an adverse ruling and
              recommend you as bond trustee disclose the existence of
              the lawsuit to existing investors.

III.    PLAINTIFFS’ WEAK CLAIMS

        8.    Plaintiffs in this case seek to enjoin the construction of the Elmore

County and Escambia County facilities, based on a wholly incorrect theory that

future construction of the facilities constitutes a “major federal action” under the

National Environmental Protection Act (“NEPA”) requiring the preparation of an

environmental impact statement. Plaintiffs’ theory is incorrect for at least three

reasons. First, Treasury’s disbursement of funds was non-discretionary. ARPA

generally requires the Treasury to disburse funds to a State upon the State’s



                                         -5-
    Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 6 of 20




certification. 42 U.S.C. § 802(b)(6), (d)(1). Non-discretionary activities done in

accordance with an agency’s statutory authority do not constitute “major federal

actions.” 40 C.F.R. § 1508.1(q)(1)(ii). Second, as Plaintiffs concede, the funds were

disbursed for the purpose of replacing general revenues lost by the State of Alabama

during the COVID-19 public health emergency. See Compl. ¶ 16 (describing the

funds at issue as “covering ‘lost revenue’”). Funding assistance “in the form of

general revenue sharing funds with no Federal agency control over the subsequent

use of such funds” is not a ‘major federal action.” § 1508.1(q)(1)(v). Finally, the

project is not a “major federal action” because Treasury lacks control over or

responsibility for the construction of the facilities. § 1508.1(q)(1)(vi). For all these

reasons, NEPA does not apply.

       9.     Besides failing on the merits, the bulk of the Complaint is barred by the

Constitution. The Eleventh Amendment bars Plaintiffs’ claims against ADOC, and

the Complaint does not allege any facts that would support Article III standing

against the individual defendants either in their capacities as members of officers of

ACIFA or in their capacities as State officials. Additionally, because the only

injuries Plaintiffs assert with regard to the Escambia facility are dubious aesthetic

harms, it is doubtful that Plaintiffs have stated an Article III injury that would support

injunctive relief as it pertains to that facility.




                                             -6-
      Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 7 of 20




IV.    PLAINTIFFS’ FAILURE TO SERVE THEIR COMPLAINT OR
       PROSECUTE THEIR CLAIMS

       10.    On August 10, 2022, in an effort to streamline the proceedings, the

Non-Federal Defendants asked this Court to set a deadline for all party responses to

be due 60 days from the date Plaintiffs effected service on the U.S. Department of

Treasury and Treasury Secretary Janet L. Yellen (the “Federal Defendants”). Doc.

5. The Non-Federal Defendants agreed to waive service if this Court granted the

motion. Id. at ¶ 4. On August 22, 2022, this Court granted the motion, thereby

making the Non-Federal Defendants’ responses due 60 days from the date the

Federal Defendants were served. No activity has since occurred in this case.

       11.    Upon information and belief, Plaintiffs have not served the Federal

Defendants, and no proof of service has been entered on the docket. See FED. R. CIV.

P. 4(l)(1).

       12.    Under Rule 4(m), a plaintiff generally has 90 days to serve a defendant

from the day he files a complaint.

       13.    Rule 41(b) permits a court to dismiss a complaint with prejudice if a

plaintiff “fails to prosecute or to comply” with the Federal Rules of Civil Procedure.

       14.    Courts have dismissed actions under Rule 41(b) for failure to serve

process in accordance in accordance with Rule 4(m). See Green v. Woodall, No.

1:17-CV-00083, 2018 WL 3572390, at *1 (M.D. Tenn. July 25, 2018). Plaintiffs




                                         -7-
    Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 8 of 20




have taken no action in five months, much less served any of the Defendants. Their

failure to prosecute warrants dismissal with prejudice under Rule 41(b).

      15.    In the alternative, this Court should dismiss under Rule 4(m). Rule 4(m)

provides that “[i]f a defendant is not served within 90 days after the complaint is

filed, the court—on motion or on its own after notice to the plaintiff—must dismiss

the action without prejudice against that defendant or order that service be made

within a specified time.”

      16.    The Non-Federal Defendants have standing to seek dismissal under

Rule 4(m) because their continued participation in this case is inextricably linked to

Plaintiffs’ service of process upon the Federal Defendants. Even though the Non-

Federal Defendants waived service, that waiver was based upon this Court setting a

response deadline that was tied to the date of service upon the Federal Defendants.

See Doc. 5 at ¶ 4. If the Plaintiffs never serve the Federal Defendants, the Non-

Federal Defendants will never be required to respond.

      17.    Even if the Non-Federal Defendants lacked standing, however, Rule

4(m) requires this Court to “on its own” either dismiss the Complaint as to the

Federal Defendants or order service upon them within a specified time. A dismissal

of the Federal Defendants would essentially operate as a dismissal of the Non-

Federal Defendants, because the Non-Federal Defendants’ deadline to respond is

contingent upon service upon the Federal Defendants.



                                         -8-
     Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 9 of 20




V.    CONCLUSION

      For the foregoing reasons, the Non-Federal Defendants request that the Court

dismiss this action with prejudice under Rule 41(b) or, in the alternative, dismiss this

action without prejudice under Rule 4(m), and order such further relief as the Court

deems appropriate.



Respectfully submitted this the 21st day of December 2022.

/s/ Christopher J. Williams                     Member and Chair of the Alabama
Christopher J. Williams                         Senate Finance and Taxation General
Maynard Cooper & Gale, P.C.                     Fund Committee; Bobby Singleton, in
1901 Sixth Avenue North                         his capacity as ACIFA Member and
Suite 1700                                      Alabama Joint Appointee House
Birmingham, AL 35203                            Minority Leader and Senate Minority
cwilliams@maynardcooper.com                     Leader; Cam Ward, in his capacity as
                                                ACIFA Member and Director of the
Counsel for Defendants:                         Alabama Bureau of Pardons and
                                                Paroles; Young Boozer, in his capacity
Alabama Department of Corrections;              as ACIFA Treasurer and Treasurer of
Alabama      Corrections    Institution         the State of Alabama
Finance Authority; Kay E. Ivey, in her
capacity as ACIFA Member and                    /s/ George R. Parker
President and Governor; John Q.                 George R. Parker
Hamm, in his capacity as ACIFA                  Bradley Arant Boult Cummings
Member and Vice-President and                   RSA Dexter Avenue Building
ADOC Commissioner; Bill Poole, in               445 Dexter Avenue
his capacity as ACIFA Member and                Suite 9075
Secretary and State Director of                 Montgomery, AL 36104
Finance; Steve Clouse, in his capacity          gparker@bradley.com
as ACIFA Member and Chair of the
Alabama House Ways and Means                    Counsel for Defendant:
General Fund Committee; Greg                    Caddell Construction Co. (DE), LLC
Albritton, in his capacity as ACIFA



                                          -9-
    Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 10 of 20




                           CERTIFICATE OF SERVICE

        I hereby certify that I have this date electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will send notification of such filing
to all counsel of record on this the 21st day of December 2022.



                                                   /s/ Christopher J. Williams
                                                   OF COUNSEL




                                          - 10 -
Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 11 of 20




                   EXHIBIT A
Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 12 of 20




  From: Eric Glass <eric.glass@justice.capital>
  Date: June 27, 2022 at 7:04:34 PM EDT
  To: ksteely@maynardcooper.com, rvaden@maynardcooper.com,
  lbutler@maynardcooper.com, rdorr@maynardcooper.com,
  aprince@maynardcooper.com, kwebster@maynardcooper.com,
  srogers@maynardcooper.com, blunsford@maynardcooper.com,
  CMcLain@maynardcooper.com, eklein@maynardcooper.com
  Cc: Ted Hynes <Ted.Hynes@raymondjames.com>,
  richard.fusco@wellsfargo.com, adam.ward@stephens.com, john@fralan.com
  Subject: Alabama Corrections Institutions Finance Authority $725 million
  bond deal


  All,

  As I'm sure you are aware, a motion to intervene was filed this morning in the
  Braggs case (Case No. 2:14-cv-00601) asserting that implementation of the
  remedial order should have priority over lease payment and debt servicing for the
  proposed prison construction plan. Judge Myron Thompson set a very expedited
  briefing schedule, requiring Defendants to respond no later than July 5th. We
  view this as a material risk event to your $725 million Alabama Corrections
  Institution Finance Authority deal scheduled to price tomorrow morning. Security
  for these bonds could be undermined and should, most definitely, be disclosed to
  potential investors.

  We urge you to disclose the motion to intervene, complaint, and order by Judge
  Thompson. At the very least, we believe you must sticker this deal to alert

                                          1
Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 13 of 20

  investors of material litigation and/or judicial rulings to be issued in the
  immediate future that could detract from the credit quality of this deal.

  Eric Glass
  Justice Capital
Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 14 of 20




                                 3
Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 15 of 20




                   EXHIBIT B
    Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 16 of 20




From: Eric Glass <eric.glass@justice.capital>
Date: July 11, 2022 at 6:12:25 PM CDT
To: ksteely@maynardcooper.com, rvaden@maynardcooper.com, lbutler@maynardcooper.com,
rdorr@maynardcooper.com, aprince@maynardcooper.com, kwebster@maynardcooper.com,
srogers@maynardcooper.com, blunsford@maynardcooper.com,
CMcLain@maynardcooper.com, eklein@maynardcooper.com
Cc: ted.hynes@raymondjames.com, richard.fusco@wellsfargo.com,
Adam.Ward@stephens.com, John Mazyck <john@fralan.com>
Subject: Re: Alabama Corrections Institutions Finance Authority $725 million bond deal


Please see an additional suit filed moments ago.

Department of the Treasury Sued for Failing to Intervene in Alabama’s
Misappropriation of COVID-19 Relief Funds for Prison Construction


On Monday, a lawsuit against the U.S. Department of the Treasury was filed in the
Middle District of Alabama on Monday on behalf of 66 people who are incarcerated in
Fountain and Elmore prisons. The lawsuit alleges that, in dispensing American
Rescue Plan (ARP) funds, the Treasury is bound by the purpose of the ARP. The
Treasury itself has interpreted the ARP to mean that prison construction, even when
undertaken for the purpose of reducing COVID-19 spread, is a “generally ineligible” use
of funds. See U.S. Department of the Treasury, Coronavirus State & Local Fiscal
Recovery Funds: Overview of the Final Rule, 31 (Jan. 2022). Nonetheless, Alabama
has allocated $400 million in ARP funds to the construction of new prisons. The
plaintiffs argue that this allocation to the Alabama Department of Corrections could be
used to provide healthcare services that would reduce the impact of the pandemic,
                                                   1
    Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 17 of 20

which has been extreme in prisons throughout the country, as well as to address current
unconstitutional prison conditions over which the Department of Justice has sued the
state. Instead, the Treasury has chosen to remain silent as Alabama defies the purpose
of ARP by misappropriating approximately 20% of funds granted to Alabama (and
nearly 80% of the funds allocated for pandemic-related revenue loss) for prison
construction. Each of the plaintiffs have suffered and will suffer the consequences of
reduced vocational training and education, along with the inaccessibility of mental and
medical health care due to staffing shortages.
Additionally, Alabama has chosen to entirely forgo the required bid process for state
construction projects, reasoning that this project is the same as Alabama’s prior failed
plan to build privately-owned facilities. In fact, the current plan requires entirely different
funding and ownership. However, the argument advanced by Alabama legislators in
favor of the plan, cited in the complaint, further makes clear that the new project is not
related to revenue lost due to the pandemic.

We view this additional suit as another material risk event to the $509 million Alabama
Corrections Institution Finance Authority that priced on June 28th. We believe security for the
aforementioned bonds would be jeopardized in the event of an adverse ruling and recommend
you as bond counsel disclose the existence of the lawsuit to existing investors.

Further, given the material nature of the legal actions filed today, we would expect a delay in the
settlement of bonds scheduled for tomorrow, July 12th.

Eric Glass
Justice Capital




                                                 2
Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 18 of 20




                   EXHIBIT C
            Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 19 of 20




From: Eric Glass <eric.glass@justice.capital>
Sent: Monday, July 11, 2022 2:28 PM
To: ksteely@maynardcooper.com; rvaden@maynardcooper.com; lbutler@maynardcooper.com;
rdorr@maynardcooper.com; aprince@maynardcooper.com; kwebster@maynardcooper.com;
srogers@maynardcooper.com; blunsford@maynardcooper.com; CMcLain@maynardcooper.com;
eklein@maynardcooper.com
Cc: Ted Hynes <Ted.Hynes@RaymondJames.com>; richard.fusco@wellsfargo.com; adam.ward@stephens.com;
john@fralan.com
Subject: Re: Alabama Corrections Institutions Finance Authority $725 million bond deal

Please see the attached suit - Charest et al v U.S. Dept of Treasury et al (Case Number: 2:22-cv-00407).

We view this as a material risk event to your $509 million Alabama Corrections Institution Finance Authority
that priced on June 28th and which is set to settle tomorrow, Tuesday, July 12th. We believe security for the
aforementioned bonds would be jeopardized in the event of an adverse ruling and recommend you as bond
trustee disclose the existence of the lawsuit to existing investors.

Eric Glass
Justice Capital
Case 2:22-cv-00407-WKW-SMD Document 18 Filed 12/21/22 Page 20 of 20




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